                                 EXHIBIT C
                             [August 2021 Invoice]




DOCS_DE:238894.1 18502/001
 Case 1-20-10322-CLB, Doc 1680-3, Filed 04/25/22, Entered 04/25/22 18:41:26,
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                               Pachulski Stang Ziehl & Jones LLP
                                         780 Third Avenue
                                            34th Floor
                                        New York, NY 10017
                                                              August 31, 2021
IDS                                                           Invoice 129098
                                                              Client   18502
                                                              Matter   00002
                                                                       IDS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2021
               FEES                                             $74,858.50
               EXPENSES                                            $796.74
               TOTAL CURRENT CHARGES                            $75,655.24

               BALANCE FORWARD                                 $133,236.40
               TOTAL BALANCE DUE                               $208,891.64




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  Summary of Services by Professional
  ID        Name                        Title              Rate        Hours               Amount

 BMM        Michael, Brittany M.        Counsel           695.00        6.30             $4,378.50

 CAK        Knotts, Cheryl A.           Paralegal         300.00        6.30             $1,890.00

                                                                        0.10               $70.00
 IAWN       Nasatir, Iain A. W.         Partner           700.00
                                                                       43.20            $30,240.00
 IDS        Scharf, Ilan D.             Partner           700.00
                                                                        0.40              $280.00
 JIS        Stang, James I.             Partner           700.00
                                                                        0.60              $180.00
 LSC        Canty, La Asia S.           Paralegal         300.00
 NHB        Brown, Nancy H.             Other             300.00       31.90             $9,570.00

 SLL        Lee, Sophia L.              Other             300.00       81.70            $24,510.00

 WLR        Ramseyer, William L.        Counsel           850.00        4.40             $3,740.00

                                                                     174.90              $74,858.50




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  Summary of Services by Task Code
  Task Code         Description                                 Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]                2.20                      $1,535.00

 CA                 Case Administration [B110]                   0.20                       $139.00

 CO                 Claims Admin/Objections[B310]              139.70                     $54,547.00

 CP                 Compensation Prof. [B160]                   13.50                      $7,345.50

 GC                 General Creditors Comm. [B150]               1.00                       $695.00

 IC                 Insurance Coverage                          10.90                      $5,426.00

 ME                 Mediation                                    3.20                      $2,234.00

 PC                 PSZ&J Compensation                           0.30                       $208.50

 SL                 Stay Litigation [B140]                       3.90                      $2,728.50

                                                                    174.90                $74,858.50




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  Summary of Expenses
  Description                                                                             Amount
Conference Call [E105]                                                                 $1.34
Pacer - Court Research                                                             $14.10
Reproduction/ Scan Copy                                                           $281.30
Research [E106]                                                                   $500.00

                                                                                          $796.74




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                                                                                        Hours           Rate       Amount

  Asset Analysis/Recovery[B120]
 08/03/2021   IDS      AA       Analysis of insurance issues at parish level.            1.20        700.00        $840.00
 08/03/2021   BMM      AA       Download and prepare documents for Committee             0.30        695.00        $208.50
                                review.
 08/10/2021   BMM      AA       Review missing documents requested by SCC.               0.10        695.00         $69.50
 08/10/2021   BMM      AA       Emails with PSZJ team regarding claims review            0.30        695.00        $208.50
                                process.
 08/13/2021   BMM      AA       Call with Committee member regarding CVA                 0.30        695.00        $208.50
                                documents.

                                                                                         2.20                     $1,535.00

  Case Administration [B110]
 08/16/2021   BMM      CA       Call with Debtor's counsel regarding ongoing case        0.20        695.00        $139.00
                                issues.

                                                                                         0.20                      $139.00

  Claims Admin/Objections[B310]
 08/03/2021   SLL      CO       Chart sex abuse claims.                                  1.20        300.00        $360.00
 08/04/2021   IDS      CO       Work on claim analysis and review.                       3.40        700.00       $2,380.00
 08/04/2021   SLL      CO       Chart sex abuse claims.                                  1.80        300.00        $540.00
 08/05/2021   SLL      CO       Chart sex abuse claims.                                  2.00        300.00        $600.00
 08/09/2021   SLL      CO       Chart confidential sexual abuse claims.                  1.50        300.00        $450.00
 08/10/2021   SLL      CO       Chart sexual abuse claims.                               4.00        300.00       $1,200.00
 08/10/2021   IDS      CO       Claims review and analysis.                              3.50        700.00       $2,450.00
 08/11/2021   SLL      CO       Review and chart sexual abuse claims.                    3.20        300.00        $960.00
 08/12/2021   BMM      CO       Call with S. Bogucki (in part), I. Scharf, S. Lee (in    0.60        695.00        $417.00
                                part) regarding claims review process.
 08/12/2021   IDS      CO       Claims review and analysis.                              4.30        700.00       $3,010.00
 08/12/2021   NHB      CO       Review and chart confidential sexual abuse claims.       2.50        300.00        $750.00
 08/13/2021   NHB      CO       Review and chart confidential sexual abuse claims.       3.00        300.00        $900.00
 08/13/2021   SLL      CO       Review and chart sexual abuse claims.                    4.00        300.00       $1,200.00
 08/16/2021   IDS      CO       Claims review and analysis.                              2.40        700.00       $1,680.00
 08/16/2021   NHB      CO       Review and chart confidential sexual abuse claims.       2.00        300.00        $600.00
 08/16/2021   SLL      CO       Review and chart sexual abuse claims.                    5.00        300.00       $1,500.00




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                                                                                       Hours            Rate        Amount
 08/17/2021   IDS      CO       Claims review and analysis.                              4.40        700.00       $3,080.00
 08/17/2021   NHB      CO       Review and chart confidential sexual abuse claims.       2.00        300.00         $600.00
 08/17/2021   SLL      CO       Review and chart sexual abuse claim.                     5.40        300.00       $1,620.00
 08/18/2021   IDS      CO       Claims review and analysis.                              4.30        700.00       $3,010.00
 08/18/2021   NHB      CO       Review and chart confidential sexual abuse claims.       3.50        300.00       $1,050.00
 08/18/2021   SLL      CO       Review and chart sexual abuse claims.                    5.50        300.00       $1,650.00
 08/19/2021   IDS      CO       Claims reviews and analysis.                             4.40        700.00       $3,080.00
 08/19/2021   NHB      CO       Review and chart confidential sexual abuse claims.       1.50        300.00         $450.00
 08/19/2021   SLL      CO       Review and chart sexual abuse claims.                    5.80        300.00       $1,740.00
 08/20/2021   IDS      CO       Claims review and analysis.                              4.30        700.00       $3,010.00
 08/20/2021   SLL      CO       Review and chart sexual abuse claims.                    4.80        300.00       $1,440.00
 08/23/2021   NHB      CO       Review and chart confidential sexual abuse claims.       1.70        300.00         $510.00
 08/24/2021   NHB      CO       Review and chart confidential sexual abuse claims.       2.70        300.00         $810.00
 08/24/2021   SLL      CO       Review and chart sex abuse claims.                       5.00        300.00       $1,500.00
 08/25/2021   NHB      CO       Review and chart confidential sexual abuse claims.       3.40        300.00       $1,020.00
 08/25/2021   SLL      CO       Review and chart sexual abuse claims.                    5.00        300.00       $1,500.00
 08/26/2021   SLL      CO       Review and chart sexual abuse claims.                    4.50        300.00       $1,350.00
 08/27/2021   NHB      CO       Review and chart confidential sexual abuse claims.       2.80        300.00         $840.00
 08/27/2021   SLL      CO       Review and chart sexual abuse claims.                    5.00        300.00       $1,500.00
 08/30/2021   NHB      CO       Review and chart confidential sexual abuse claims.       2.80        300.00         $840.00
 08/30/2021   SLL      CO       Review and chart sex abuse claims.                       5.00        300.00       $1,500.00
 08/31/2021   NHB      CO       Review and chart confidential sexual abuse claims.       4.00        300.00       $1,200.00
 08/31/2021   SLL      CO       Review and chart sex abuse claims.                       4.00        300.00       $1,200.00

                                                                                       139.70                     $54,547.00

  Compensation Prof. [B160]
 08/03/2021   CAK      CP       Update spreadsheet in preparation of 2nd Interim fee     1.00        300.00         $300.00
                                application
 08/04/2021   CAK      CP       Update spreadsheet in preparation of 2nd Interim fee     1.00        300.00         $300.00
                                application
 08/04/2021   CAK      CP       Draft charts for 2nd Interim fee application             0.80        300.00         $240.00
 08/05/2021   WLR      CP       Review and revise Second interim fee application         1.70        850.00       $1,445.00
 08/06/2021   WLR      CP       Review and revise Second interim fee application         2.70        850.00       $2,295.00




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                                                                                    Hours           Rate       Amount
 08/09/2021   CAK      CP       Review and update 2nd Interim fee application;       3.50        300.00       $1,050.00
                                prepare and draft exhibits to same.
 08/13/2021   BMM      CP       Revise PSZJ second interim fee application.          0.30        695.00        $208.50
 08/13/2021   BMM      CP       Revise PSZJ second interim fee application.          0.60        695.00        $417.00
 08/19/2021   IDS      CP       Finalize Pachulski Stang Ziehl & Jones fee           1.30        700.00        $910.00
                                application.
 08/24/2021   LSC      CP       Revise PSZJ's 2nd interim fee application (.4);      0.60        300.00        $180.00
                                prepare COS for same (.2)

                                                                                    13.50                     $7,345.50

  General Creditors Comm. [B150]
 08/10/2021   BMM      GC       Email to SCC regarding ongoing case issues.          0.10        695.00         $69.50
 08/19/2021   BMM      GC       Participate in Committee meeting regarding claims    0.90        695.00        $625.50
                                and mediation.

                                                                                     1.00                      $695.00

  Insurance Coverage
 08/10/2021   IDS      IC       Continue coverage analysis.                          1.30        700.00        $910.00
 08/14/2021   IAWN IC           Exchanged emails with Murray re Parish coverage      0.10        700.00         $70.00
                                chart
 08/19/2021   IDS      IC       Work on parish insurance analysis.                   0.80        700.00        $560.00
 08/19/2021   BMM      IC       Call with I. Scharf regarding insurance analysis.    0.30        695.00        $208.50
 08/20/2021   IDS      IC       Update/ revise insurance analysis.                   2.40        700.00       $1,680.00
 08/23/2021   SLL      IC       Review and chart sexual abuse claims.                5.50        300.00       $1,650.00
 08/23/2021   BMM      IC       Meeting with S. Bogucki regarding parish level       0.50        695.00        $347.50
                                insurance review.

                                                                                    10.90                     $5,426.00

  Mediation
 08/17/2021   JIS      ME       Call with I. Scharf regarding mediators.             0.40        700.00        $280.00
 08/17/2021   IDS      ME       Discussion with Jim Stang regarding mediatior        0.40        700.00        $280.00
                                selection.
 08/19/2021   IDS      ME       Meet with mediator candidate (MC-R).                 0.60        700.00        $420.00
 08/19/2021   IDS      ME       Email to mediator candidate (D-W).                   0.40        700.00        $280.00
 08/19/2021   IDS      ME       Email to Donato regarding mediation.                 0.20        700.00        $140.00
 08/19/2021   BMM      ME       Meeting with potential mediator.                     1.20        695.00        $834.00




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                                                                                 3.20                     $2,234.00

  PSZ&J Compensation
 08/20/2021   BMM      PC       Prepare final fee application for filing.        0.30        695.00        $208.50

                                                                                 0.30                      $208.50

  Stay Litigation [B140]
 08/06/2021   IDS      SL       Review parish stay.                              1.00        700.00        $700.00
 08/06/2021   IDS      SL       Email to A. Janet regarding parish stay.         0.50        700.00        $350.00
 08/06/2021   IDS      SL       Telephone conference with SCC (A. Janet)         0.80        700.00        $560.00
                                regarding Parish stay.
 08/13/2021   IDS      SL       Telephone conference and email with A. Janet     0.50        700.00        $350.00
                                regarding parish stay to extensions.
 08/18/2021   IDS      SL       Respond to S. Benson request regarding PI AVP.   0.40        700.00        $280.00
 08/18/2021   IDS      SL       Email to R. Weisbeck regarding PI AVP.           0.40        700.00        $280.00
 08/27/2021   BMM      SL       Communications with SCC and Debtor's counsel     0.30        695.00        $208.50
                                regarding stay defendants.

                                                                                 3.90                     $2,728.50

  TOTAL SERVICES FOR THIS MATTER:                                                                     $74,858.50




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 Expenses

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 08/18/2021   RE2        COPY ( 9 @0.10 PER PG)                           0.90


 08/18/2021   RE2        COPY ( 15 @0.10 PER PG)                          1.50


 08/18/2021   RE2        COPY ( 11 @0.10 PER PG)                          1.10


 08/19/2021   RE2        COPY ( 12 @0.10 PER PG)                          1.20


 08/19/2021   RE2        COPY ( 14 @0.10 PER PG)                          1.40


 08/20/2021   RE2        COPY ( 16 @0.10 PER PG)                          1.60


 08/20/2021   RE2        COPY ( 16 @0.10 PER PG)                          1.60


 08/20/2021   RE2        COPY ( 12 @0.10 PER PG)                          1.20


 08/20/2021   RE2        COPY ( 56 @0.10 PER PG)                          5.60


 08/20/2021   RE2        COPY ( 8 @0.10 PER PG)                           0.80


 08/20/2021   RE2        COPY ( 19 @0.10 PER PG)                          1.90


 08/20/2021   RE2        COPY ( 9 @0.10 PER PG)                           0.90




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 08/20/2021   RE2        COPY ( 15 @0.10 PER PG)                                    1.50


 08/20/2021   RE2        COPY ( 15 @0.10 PER PG)                                    1.50


 08/20/2021   RE2        COPY ( 12 @0.10 PER PG)                                    1.20


 08/20/2021   RE2        COPY ( 10 @0.10 PER PG)                                    1.00


 08/20/2021   RE2        COPY ( 11 @0.10 PER PG)                                    1.10


 08/20/2021   RE2        COPY ( 14 @0.10 PER PG)                                    1.40


 08/20/2021   RE2        COPY ( 10 @0.10 PER PG)                                    1.00


 08/20/2021   RE2        COPY ( 18 @0.10 PER PG)                                    1.80


 08/20/2021   RE2        COPY ( 15 @0.10 PER PG)                                    1.50


 08/20/2021   RE2        COPY ( 12 @0.10 PER PG)                                    1.20


 08/20/2021   RE2        COPY ( 17 @0.10 PER PG)                                    1.70


 08/20/2021   RE2        COPY ( 16 @0.10 PER PG)                                    1.60


 08/20/2021   RE2        COPY ( 17 @0.10 PER PG)                                    1.70


 08/20/2021   RE2        COPY ( 12 @0.10 PER PG)                                    1.20


 08/20/2021   RE2        COPY ( 9 @0.10 PER PG)                                     0.90


 08/20/2021   RE2        COPY ( 9 @0.10 PER PG)                                     0.90


 08/24/2021   CC         Conference Call [E105] Loop Up Conference Call, IDS        1.34


 08/24/2021   RE2        COPY ( 9 @0.10 PER PG)                                     0.90




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 08/24/2021   RE2        COPY ( 17 @0.10 PER PG)                          1.70


 08/24/2021   RE2        COPY ( 20 @0.10 PER PG)                          2.00


 08/24/2021   RE2        COPY ( 19 @0.10 PER PG)                          1.90


 08/24/2021   RE2        COPY ( 16 @0.10 PER PG)                          1.60


 08/24/2021   RE2        COPY ( 8 @0.10 PER PG)                           0.80


 08/24/2021   RE2        COPY ( 18 @0.10 PER PG)                          1.80


 08/24/2021   RE2        COPY ( 21 @0.10 PER PG)                          2.10


 08/24/2021   RE2        COPY ( 8 @0.10 PER PG)                           0.80


 08/26/2021   RE2        COPY ( 18 @0.10 PER PG)                          1.80


 08/26/2021   RE2        COPY ( 16 @0.10 PER PG)                          1.60


 08/26/2021   RE2        COPY ( 9 @0.10 PER PG)                           0.90


 08/26/2021   RE2        COPY ( 22 @0.10 PER PG)                          2.20


 08/26/2021   RE2        COPY ( 16 @0.10 PER PG)                          1.60


 08/26/2021   RE2        COPY ( 10 @0.10 PER PG)                          1.00


 08/26/2021   RE2        COPY ( 9 @0.10 PER PG)                           0.90


 08/26/2021   RE2        COPY ( 16 @0.10 PER PG)                          1.60


 08/26/2021   RE2        COPY ( 17 @0.10 PER PG)                          1.70


 08/26/2021   RE2        COPY ( 20 @0.10 PER PG)                          2.00




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 08/26/2021   RE2        COPY ( 8 @0.10 PER PG)                           0.80


 08/26/2021   RE2        COPY ( 13 @0.10 PER PG)                          1.30


 08/26/2021   RE2        COPY ( 11 @0.10 PER PG)                          1.10


 08/26/2021   RE2        COPY ( 9 @0.10 PER PG)                           0.90


 08/30/2021   RE2        COPY ( 8 @0.10 PER PG)                           0.80


 08/30/2021   RE2        COPY ( 9 @0.10 PER PG)                           0.90


 08/30/2021   RE2        COPY ( 15 @0.10 PER PG)                          1.50


 08/30/2021   RE2        COPY ( 14 @0.10 PER PG)                          1.40


 08/30/2021   RE2        COPY ( 12 @0.10 PER PG)                          1.20


 08/30/2021   RE2        COPY ( 15 @0.10 PER PG)                          1.50


 08/30/2021   RE2        COPY ( 16 @0.10 PER PG)                          1.60


 08/30/2021   RE2        COPY ( 8 @0.10 PER PG)                           0.80


 08/30/2021   RE2        COPY ( 9 @0.10 PER PG)                           0.90


 08/30/2021   RE2        COPY ( 22 @0.10 PER PG)                          2.20


 08/30/2021   RE2        COPY ( 15 @0.10 PER PG)                          1.50


 08/30/2021   RE2        COPY ( 16 @0.10 PER PG)                          1.60


 08/30/2021   RE2        COPY ( 52 @0.10 PER PG)                          5.20


 08/30/2021   RE2        COPY ( 8 @0.10 PER PG)                           0.80




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 08/30/2021   RE2        COPY ( 214 @0.10 PER PG)                        21.40


 08/30/2021   RE2        COPY ( 9 @0.10 PER PG)                           0.90


 08/30/2021   RE2        COPY ( 15 @0.10 PER PG)                          1.50


 08/30/2021   RE2        COPY ( 9 @0.10 PER PG)                           0.90


 08/30/2021   RE2        COPY ( 16 @0.10 PER PG)                          1.60


 08/30/2021   RE2        COPY ( 8 @0.10 PER PG)                           0.80


 08/30/2021   RE2        COPY ( 30 @0.10 PER PG)                          3.00


 08/30/2021   RE2        COPY ( 8 @0.10 PER PG)                           0.80


 08/30/2021   RE2        COPY ( 8 @0.10 PER PG)                           0.80


 08/31/2021   RS         Research [E106] Everlaw Inc. Inv. 44532        500.00


 08/31/2021   PAC        Pacer - Court Research                          14.10
   Total Expenses for this Matter                                    $796.74




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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        08/31/2021

Total Fees                                                                                             $74,858.50

Total Expenses                                                                                              796.74

Total Due on Current Invoice                                                                           $75,655.24

  Outstanding Balance from prior invoices as of        08/31/2021          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due
 125270                   04/30/2020               $109,192.50             $625.07                    $10,919.25

 125276                   05/31/2020               $152,307.50             $578.14                    $15,230.75

 125334                   06/30/2020                $41,562.50           $1,006.09                      $4,156.25

 126177                   07/31/2020                $51,502.50           $1,349.12                      $5,150.25

 126524                   08/31/2020                $33,130.00             $247.58                      $7,891.75

 128245                   03/31/2021                $32,659.50             $555.35                      $3,448.23

 128247                   04/30/2021                $18,006.50             $514.72                    $18,521.22

 128249                   05/31/2021                $18,814.50             $500.00                    $19,314.50

 129096                   06/30/2021                $11,449.00             $500.00                    $11,949.00

 129097                   07/31/2021                $36,061.00             $594.20                    $36,655.20

             Total Amount Due on Current and Prior Invoices:                                          $208,891.64




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